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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------x
  MICHAEL T. DOLAN,

                                  Plaintiff,
                                                                 MEMORANDUM & ORDER
                    - against -                                   03-CV-3285 (PKC) (AKT)

  SELECT PORTFOLIO SERVICING,

                                  Defendant.
  -------------------------------------------------------x
  PAMELA K. CHEN, United States District Judge:

          Defendant Select Portfolio Servicing (“Defendant” or “SPS”) has again moved for

  summary judgment, this time as to Plaintiff Michael Dolan’s (“Plaintiff” or “Dolan”) claims under

  Section 2605 of the Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. § 2605

  (“Section 2605”), and Plaintiff’s force-placed insurance theory of his breach of fiduciary claim,

  on the basis that Plaintiff lacks standing to pursue these claims in light of the Supreme Court’s

  recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016). For the reasons stated below,

  Defendant’s motion is GRANTED IN PART and DENIED IN PART.

                                                   DISCUSSION

  I.      Legal Standard

          At the summary judgment stage, a court cannot merely rely on the allegations in a

  plaintiff’s complaint to establish standing; rather, “[t]o defend against summary judgment for lack

  of standing, a plaintiff ‘must set forth by affidavit or other evidence specific facts’ supporting

  standing, as is generally required under Rule 56.” NRDC, Inc. v. U.S. FDA, 710 F.3d 71, 79 (2d

  Cir. 2013); see also Access 4 All, Inc. v. Trump Int’l Hotel & Tower Condo., 458 F. Supp. 2d 160,

  167 (S.D.N.Y. 2006) (“[A]t the summary judgment stage the plaintiff[] need not establish that [he]

  in fact ha[s] standing, but only that there is a genuine question of material fact as to the standing

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  elements.”) (quotation marks omitted).

         To satisfy constitutional standing requirements, there must be (1) a concrete and

  particularized, actual or imminent injury in fact to the plaintiff (“injury in fact”), (2) a causal

  connection between that injury and the defendant’s conduct, and (3) redressability of that injury

  by a favorable decision. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992); see

  also Warth v. Seldin, 422 U.S. 490, 499 (1975) (“A federal court’s jurisdiction [] can be invoked

  only when the plaintiff himself has suffered some threatened or actual injury resulting from the

  putatively illegal action . . . .”) (quotation marks omitted) (emphasis added). The parties’ dispute

  in the instant motion concerns only the first element, injury in fact.

  II.    The Supreme Court’s Holding in Spokeo

         Defendant argues that Spokeo represented a sea change in standing jurisprudence, and that

  the holding articulated in that case renders Plaintiff unable to pursue his RESPA claims, because

  he has failed to demonstrate a concrete and particularized injury in fact, and therefore lacks

  standing. (See Dkt. 423.) While the Court disagrees with Defendant’s overly expansive reading

  of Spokeo, the Court nevertheless recognizes that the Supreme Court’s decision in Spokeo clarifies

  what is required to demonstrate standing in the context of bare procedural statutory violations,

  such as the ones Plaintiff asserts here under Section 2605(b) and (c) of RESPA, with respect to the

  “Hello” and “Goodbye” letters. Applying Spokeo’s clarified standard, the Court finds that Plaintiff

  has failed to demonstrate standing to bring those claims.

         In Spokeo, Plaintiff Thomas Robins sued Spokeo, a people search engine company, for

  allegedly disseminating inaccurate information about Robins.             Robins alleged that this




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  dissemination of inaccurate information violated the Fair Credit Reporting Act (“FCRA”). 1

  Spokeo, 136 S. Ct. at 1544. The district court dismissed Robins’s complaint for lack of standing,

  but the Ninth Circuit reversed. Id. at 1544–45. Stating that “‘the violation of a statutory right is

  usually a sufficient injury in fact to confer standing,’” the Ninth Circuit held that because Robins

  alleged that Spokeo had violated his own statutory rights, not just those of other people, and

  because his personal interests in the handling of his private information were individualized, rather

  than collective, injury in fact was sufficiently pled. Id. at 1546.

         The Supreme Court vacated the Ninth Circuit’s decision, holding that the Circuit’s

  “analysis was incomplete,” because “the injury in fact requirement [of standing] requires a plaintiff

  to allege an injury that is both ‘concrete and particularized,’” and the Circuit had failed to address

  the concreteness prong. Id. at 1545 (emphasis in original).           The Court explained that, while

  particularity requires that the injury “affect the plaintiff in a personal and individual way,”

  concreteness requires that the injury “be ‘de facto’; that is, it must actually exist.” Id. at 1548

  (quotation marks omitted). The case was remanded to the Circuit so that it could analyze both

  aspects of the injury in fact requirement. Id. at 1545.

         While thoroughly analyzing the concreteness requirement in Spokeo, the Supreme Court

  established no definition of concreteness or factors to determine whether the concreteness



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            The FCRA seeks to ensure fair and accurate credit reporting through regulation of the
  creation and use of consumer reports by consumer reporting agencies. It requires, inter alia, that
  “companies that regularly disseminate information bearing on an individual’s ‘credit worthiness,
  credit standing, credit capacity, character, general reputation, personal characteristics, or mode of
  living’” follow reasonable procedures to assure maximum possible accuracy of consumer reports;
  notify providers and users of consumer information of their responsibilities under the FCRA; and
  limit the circumstances in which such agencies provide consumer reports for employment
  purposes. See Spokeo, 136 S. Ct. at 1545 (citing 15 U.S.C. §§ 1681a, 1681b, 1681e). Willful
  violations of the FCRA’s requirements subject the violator to actual damages or statutory damages
  of between $100 and $1,000 per violation, costs and attorney’s fees, and possibly punitive
  damages. Id. (citing 15 U.S.C. § 1681n(a)).
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  requirement is met. On the one hand, the Court explained that “concrete” was “not [] necessarily

  synonymous with ‘tangible,’” and that “intangible injuries can [] be concrete.” Id. at 1549. In this

  regard, the Court suggested that though it is “instructive to consider whether an alleged intangible

  harm has a close relationship to a harm that has traditionally been regarded as providing a basis

  for a lawsuit,” Congress could “elevat[e] to the status of legally cognizable injuries concrete, de

  facto injuries that were previously inadequate in law.” Id. (alteration in original) (quoting Lujan,

  504 U.S. at 578) (quotation marks omitted). Consistent with this reasoning, the Court affirmed

  the principle that “the violation of a procedural right granted by statute can be sufficient in some

  circumstances to constitute injury in fact. In other words, a plaintiff in such a case need not allege

  any additional harm beyond the one Congress has identified.” Id. at 1549–50 (citing FEC v. Akins

  (Akins), 524 U.S. 11 (1998), and Public Citizen v. U.S. Dep’t of Justice (Public Citizen), 491 U.S.

  440 (1989)).

         On the other hand, the Court clarified that the injury in fact requirement is not

  “automatically” satisfied “whenever a statute grants a person a statutory right and purports to

  authorize that person to sue to vindicate that right.” Id. at 1549. Rather, as the Court had

  previously held, “Article III standing requires a concrete injury even in the context of a statutory

  violation,” such that the plaintiff in Spokeo, Robins, “could not, for example, allege a bare

  procedural violation, divorced from any concrete harm, and satisfy the injury-in-fact requirement

  of Article III.” Id. (emphases added) (quoting Summers v. Earth Island Inst., 555 U.S. 488, 496

  (2009)).

         A.      Intangible Injury in Fact

         In affirming the principle that the mere violation of a statutory right could sometimes

  qualify as an intangible injury in fact sufficient to confer standing, the Court in Spokeo relied, in



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  part, on Akins. In that case, a group of voters brought suit to challenge a Federal Election

  Commission (“FEC”) determination that the American Israel Public Affairs Committee

  (“AIPAC”) was not a “political committee,” as defined by the Federal Election Campaign Act

  (“FECA”), and therefore did not have to make certain disclosures regarding its membership,

  contributions, and expenditures that the FECA would otherwise require. 2 524 U.S. at 13. The

  district court granted summary judgment in favor of the FEC, a decision that was initially affirmed

  by a panel of the Court of Appeals but subsequently reversed by the en banc Court of Appeals, on

  the ground that the FEC had improperly interpreted the FECA’s definition of “political

  committee.” Id. at 18. Before the Supreme Court, the FEC challenged the respondent-voters’

  standing to bring the claims at issue, a challenge which the Supreme Court rejected. Id. at 13–14,

  18.

         The Supreme Court held that the injury suffered by the respondent-voters was their

  inability to obtain information that “would help them (and others to whom they would

  communicate it) to evaluate candidates for public office . . . and to evaluate the role that AIPAC’s

  financial assistance might play in a specific election,” and that this “injury consequently seem[ed]

  concrete and particular.” Id. at 21. In so holding, the Court cited Public Citizen for the proposition

  that “a plaintiff suffers an ‘injury in fact’ when the plaintiff fails to obtain information which must

  be publicly disclosed pursuant to a statute.” Id. The Court reasoned that, just as injury in fact may

  be found where “large numbers of individuals suffer the same common-law injury (say, a

  widespread mass tort), or where large numbers of voters suffer interference with voting rights

  conferred by law,” so too “the informational injury” at issue in Akins, which related directly to



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           The FECA’s purpose is “to remedy any actual or perceived corruption of the political
  process,” including by imposing “extensive recordkeeping and disclosure requirements upon
  groups that fall within the Act’s definition of a ‘political committee.’” Akins, 524 U.S. at 14–15.
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  voting, “the most basic of political rights,” was “sufficiently concrete and specific” to confer

  standing, and “the fact that [the injury] is widely shared does not deprive Congress of constitutional

  power to authorize its vindication in the federal courts.” Id. at 24–25.

         Similar interests of public disclosure and fundamental rights were at play in Public Citizen,

  upon which the Supreme Court in Spokeo also relied. In that case, legal organizations sought to

  obtain, and were refused, information regarding the American Bar Association’s (“ABA”) reports

  and minutes of meetings related to potential judicial nominees, information allegedly shared with

  the Department of Justice (“DOJ”). These organizations sued the DOJ, arguing that under the

  Federal Advisory Committee Act (“FACA”), the ABA’s Standing Committee on the Federal

  Judiciary was an “advisory committee” that had to make its minutes, records, and reports public.

  Public Citizen, 491 U.S. at 447–48. 3

         Although affirming the district court’s dismissal of the case on statutory grounds, id. at

  443, the Supreme Court, as an initial matter, considered the ABA’s standing challenge, in which

  the ABA, as intervenors on appeal, argued that the legal organizations had not alleged “injury

  sufficiently concrete and specific to confer standing.” Id. at 448 & n.6. The Court rejected the

  ABA’s standing arguments, reasoning that “appellants are attempting to compel the Justice

  Department and the ABA Committee to comply with FACA’s charter and notice requirements,

  and . . . seek access to the ABA Committee’s meetings and records in order to monitor its workings

  and participate more effectively in the judicial selection process.” Id. at 449. One of the

  organizations “ha[d] specifically requested, and been refused” certain information required by the




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            The FACA’s purpose was, among other things, to ensure that “Congress and the public
  remain apprised of [advisory committees’] existence, activities, and cost,” and the FACA therefore
  “stipulates that advisory committee minutes, records, and reports be made available to the public,”
  with some limited exceptions. Public Citizen, 491 U.S. at 446–47.
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  FACA, and just as “when an agency denies requests for information under the Freedom of

  Information Act, refusal to permit appellants to scrutinize the ABA Committee’s activities to the

  extent FACA allows constitutes a sufficiently distinct injury to provide standing to sue.” Id.

  Relying on its decisions interpreting the Freedom of Information Act, the Court reasoned that those

  decisions “never suggested that those requesting information under it need show more than that

  they sought and were denied specific agency records,” and that “[t]here is no reason for a different

  rule here.” Id.

         The statutes at issue in both Akins and Public Citizen were drafted to effectuate broad

  disclosure of information to the public. The Supreme Court, however, rejected in both cases the

  notion that the breadth of this disclosure rendered the interest protected and promoted by these

  statutes—namely, the public’s interest in the integrity and transparency of the political and judicial

  selection process—too abstract to confer standing. As the Court explained in Akins, “[o]ften the

  fact that an interest is abstract and the fact that it is widely shared go hand in hand,” but that

  association “is not invariable, and where a harm is concrete, though widely shared, the Court has

  found ‘injury in fact.’” 524 U.S. at 24. The Court reasoned similarly in Public Citizen: “The fact

  that other citizens or groups of citizens might make the same complaint after unsuccessfully

  demanding disclosure under FACA does not lessen appellants’ asserted injury, any more than the

  fact that numerous citizens might request the same information under the Freedom of Information

  Act entails that those who have been denied access do not possess a sufficient basis to sue.” 491

  U.S. at 449–50.

         Significantly, both Akins and Public Citizen involved statutory rights intended to protect

  and promote public interests that, by their nature, are intangible and diffuse, and would be rendered

  wholly unenforceable were intangible injury, or bare procedural violations, categorically



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  insufficient to confer standing. In this respect, the interests at issue in Akins and Public Citizen

  resemble the diffuse and less tangible interests that Congress sought to protect and promote

  through Section 2607 of RESPA, 12 U.S.C. § 2607 (“Section 2607”), and are dissimilar from the

  interests implicated by Section 2605, under which Plaintiff seeks to recover. Indeed, because of

  the clear differences between the interests reflected in these two RESPA sections, the Court

  concludes that Congress did not intend to confer standing for mere procedural violations of Section

  2605, without some allegation of actual harm.

  III.   RESPA Statutory Framework

         RESPA is a carefully crafted statute whose purpose is to ensure “that consumers throughout

  the Nation are provided with greater and more timely information on the nature and costs of the

  settlement process and are protected from unnecessarily high settlement charges caused by certain

  abusive practices that have developed in some areas of the country.” 12 U.S.C. § 2601(a).

         A.      Section 2607

         Section 2607 precludes the provision or acceptance of “any fee, kickback, or thing of

  value” in exchange for a referral “incident to or a part of a real estate settlement service involving

  a federally related mortgage loan.” 12 U.S. § 2607(a). The section similarly prohibits the

  provision or acceptance of any fee-splitting arrangement as to “any charge made or received for

  the rendering of a real estate settlement service in connection with a transaction involving a

  federally related mortgage loan.” Id., § 2607(b). Violators of this provision are penalized by a

  fine up to $10,000 or imprisonment up to one year, or both, and are also jointly and severally liable

  to the individual charged for the real estate settlement service “in an amount equal to three times

  the amount of any charge paid” for that service. Id., § 2607(d).

         While the Second Circuit has not addressed what is required to demonstrate standing under



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  Section 2607, at least three Circuits have considered whether standing to pursue claims under this

  provision requires a showing of actual harm, namely a showing that the plaintiffs have been

  overcharged as a result of the kickback or fee-splitting arrangement at issue. Each of those courts

  determined that no such overcharge allegation was required to establish standing. See Edwards v.

  First Am. Corp., 610 F.3d 514, 517 (9th Cir. 2010) (holding that plaintiff established injury

  sufficient to confer standing because RESPA’s plain language made clear that a violation of

  Section 2607 provided for damages “three times the amount of any charge paid,” and therefore

  did not “limit liability to instances in which a plaintiff is overcharged”) (quotation marks omitted)

  (emphasis in original); Alston v. Countrywide Fin. Corp., 585 F.3d 753, 759–60 (3d Cir. 2009)

  (“[t]he plain language of RESPA section 8 [2607] does not require plaintiffs to allege an

  overcharge,” as the subsection providing for damages stipulates an amount triple “the amount of

  any charge paid” for the settlement service, and did not mention “overcharge”) (emphasis in

  original); Carter v. Welles-Bowen Realty, Inc., 553 F.3d 979, 984–86 (6th Cir. 2009) (because the

  plain language of Section 2607 does not require an overcharge, but instead provides for damages

  in an amount three times “any charge paid,” a plaintiff does not have to “allege a concrete injury

  such as an overcharge in order to have standing for a RESPA violation”) (emphasis in original). 4

  Thus, the plain language of Section 2607 reflects Congress’s intent to protect an interest that is,

  by nature, intangible—the public’s interest in exposing corruption in the real estate financing

  industry—and implicates the same policy considerations that prompted the Supreme Court in

  Akins and Public Citizen to find standing for plaintiffs alleging bare statutory violations.




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           The Supreme Court’s holding in Spokeo arguably calls into question the continued vitality
  of these decisions. But to the extent they remain good law after Spokeo, the Court finds them
  persuasive with respect to construing the plain language of Section 2607 to provide for damages
  in the absence of actual harm.
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          B.      Section 2605

          Section 2605(b) provides that loan servicers, such as SPS, must notify a borrower, in

   writing, of any transfer of the servicing of a loan within 15 days before the effective date of the

   transfer—a so-called “Goodbye Letter.” Id., § 2605(b). The Goodbye Letter must include certain

   information, such as (1) the effective date of the transfer; (2) contact information for the transferee

   loan servicer; (3) contact information for either an individual or a department that can answer

   questions related to the transfer, for both the transferee and transferor loan servicers; (4) the date

   on which the transferor servicer will cease accepting payments and the date on which the transferee

   servicer will begin accepting payments; (5) information concerning the effect the transfer may

   have on the terms or continued availability of “mortgage life or disability insurance” or any other

   type of optional insurance, and what action the borrower must take to maintain coverage; and (6)

   a statement that the transfer does not affect any term or condition of the underlying security

   instruments—in this case, the note and the mortgage—other than terms “directly related” to the

   servicing thereof. Id., § 2605(b)(3). At the other end of the transfer, Section 2605(c) provides that

   “[e]ach transferee servicer to whom the servicing of any federally related mortgage loan is . . .

   transferred shall notify the borrower of any such . . . transfer”—a so-called “Hello Letter”—within

   15 days after the effective date of transfer. Id., § 2605(c). The Hello Letter must include all of

   the information required in the Goodbye Letter. Id., § 2605(c)(3).

          In contrast to Section 2607, the conduct that Section 2605 seeks to regulate does not

   implicate the type of diffuse, intangible injury at issue in Akins and Public Citizen, but rather seeks

   to redress actual damages caused by the failure of one private party, i.e., a loan servicer, to provide

   specific information to another private party, i.e., a borrower. RESPA provides that violators of

   Section 2605(b) and (c) “shall be liable to the borrower for each such failure in . . . an amount



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   equal to the sum of . . . any actual damages to the borrower as a result of the failure[] and any

   additional damages, as the court may allow, in the case of a pattern or practice of noncompliance”

   with Section 2605’s requirements, “in an amount not to exceed $2,000.” Id., § 2605(f). Thus,

   unlike Section 2607, the plain language of Section 2605 indicates that an allegation of actual

   damages is necessary to state a claim for liability. See Bonadio v. PHH Mortg. Corp., No. 12-CV-

   3421, 2014 U.S. Dist. LEXIS 20719, at *14 (S.D.N.Y. Jan. 13, 2014) (“Although RESPA permits

   recovery of both actual and statutory damages, proof of actual damages is mandatory to recover

   on a § 2605[] violation, and a § 2605[] claim cannot stand on statutory damages alone.”) (quotation

   marks omitted) (alteration omitted); Gorbaty v. Wells Fargo Bank, N.A., No. 10-CV-3291, 2012

   U.S. Dist. LEXIS 55284, at *15 n.9 (E.D.N.Y. Apr. 18, 2012) (While “[i]t is not entirely clear

   whether RESPA permits a plaintiff to recover statutory damages without proving the existence of

   actual damages,” “[t]he word ‘additional’ suggests that RESPA might not permit recovery of

   statutory damages alone.”).

          In reaching this conclusion, the Court recognizes that standing and damages are not

   synonymous. But just as various Courts of Appeal utilized the plain language of Section 2607’s

   liability provision to determine whether Congress intended to confer standing only on plaintiffs

   who were overcharged due to alleged kickback or fee-splitting schemes, the Court now finds that

   Section 2605’s liability provision makes clear that Congress intended to confer standing only on

   those individuals who suffered harm, meaning actual damages, from a loan servicer’s failure to

   comply with the requirements of Section 2605. 5



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            This conclusion is bolstered by the Supreme Court’s discussion in Spokeo about how
   Congress’s purpose in enacting the consumer reporting statute at issue there, the FCRA, would not
   be served by permitting individuals to sue where the violation of the statute resulted in no harm.
   Spokeo, 136 S. Ct. at 1550. The Supreme Court cited two examples relevant here: first, that even
   if a consumer reporting agency failed to provide the required notice under the FCRA, “that
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   IV.    Plaintiff’s Claims of Bare Violations of Section 2605(b) and (c) Must Fail

          Plaintiff alleges that he was injured because SPS “failed to provide accurate or timely

   information to Plaintiff . . . concerning his account,” i.e., what fees and charges were being

   imposed (Dkt. 58 ¶ 199), and that “[a] homeowner has a right to know who the new servicer is and

   timing of the service, so that he or she could get information about [his or] her loan or charges”

   (Dkt. 425 at 3). 6 At oral argument, Plaintiff made clear that his claims are based solely on bare

   procedural statutory violations of Sections 2605(b) and (c) by SPS and that he is not alleging any

   actual damages resulting from these violations. (6/27/16 Oral Argument Tr. at 14:14–16 (“THE

   COURT: Are you alleging that simply because the statute was violated [Dolan] gets to collect?

   MR. DAHIYA: Yes . . . .”); id. at 16:8–18 (Dolan’s counsel represented that Dolan’s claim was

   that “Mr. Dolan gets to recover solely based on the violation of the RESPA statute that [he is]




   information regardless may be entirely accurate,” and second, that even if the disseminated
   information was inaccurate, “not all inaccuracies cause harm or present any material risk of harm,”
   i.e., “[i]t is difficult to imagine how the dissemination of an incorrect zip code, without more, could
   work any concrete harm.” Id. Plaintiff’s claims under Section 2605(b) and (c) implicate precisely
   these examples, such that violations of these provisions, divorced from any concrete harm, are
   insufficient to support standing under Spokeo.
          6
              There are very few allegations articulating Plaintiff’s harm from SPS’s purported
   violation of RESPA, and even these allegations relate, not to the violations of Section 2605(b) and
   (c), but to SPS’s alleged violations of Section 2605(e). (See, e.g., Dkt. 58 ¶ 199 (SPS “routinely
   failed to respond to Plaintiff[’s] written disputes or requests for information made pursuant to
   RESPA . . . and otherwise failed to provide accurate or timely information to Plaintiff . . .
   concerning his account”).) Section 2605(e) governs a loan servicer’s duty to respond to Qualified
   Written Requests (“QWRs”) from borrowers. At oral argument on June 27, 2016, the Court denied
   Defendant’s motion for summary judgment with respect to Plaintiff’s claims under Section
   2605(e) (see 6/27/16 Minute Entry for 6/27/16 Oral Argument), and now clarifies that its holding
   as to those claims rejects any argument by Defendant that, under Spokeo, Plaintiff lacks standing
   because he fails to allege any injury in fact. The gravamen of Plaintiff’s entire case is that SPS’s
   failure to provide him with accurate information regarding, inter alia, his mortgage and the
   amounts due thereon, including by failing to respond to his QWRs, directly resulted in his defaults
   under the mortgage and the Forbearance Agreements. Plaintiff’s claims under Section 2605(e)
   therefore remain in the case, and Plaintiff shall be permitted to pursue them at trial.
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   alleging” and “[he] do[es]n’t have to [] show any injury beyond that”); id. at 21:25–22:8 (according

   to Plaintiff’s counsel, Plaintiff “ha[s] been saying” “that any statutory violation should prompt

   discovery and in a way absolve the plaintiff of having to show injury . . . that the bare procedural

   violation or the deficiency in a letter [under Section 2605] did not”). See also Dkt. 425 at 3

   (because Dolan’s claims under RESPA seek to redress an interest that was “Congressionally

   granted,” the violation of those rights “in itself amounts to a concrete injury”) (emphasis added).)

   These claims all fail for lack of standing. 7




           7
             Plaintiff broadly argues that Spokeo’s approval of Public Citizen and Akins supports his
   theory that the mere violation of a statute that requires disclosure of any type of public or consumer
   information is sufficient to confer standing on a plaintiff who was denied access to that
   information. (See Dkt. 425 at 2–3 (Public Citizen and Akins stand for the proposition that “an
   informational injury—the personal denial of access to information required by statute—is a
   concrete injury under Article III.”).) However, this argument plainly ignores the Supreme Court’s
   reiteration in Spokeo, in the context of an alleged violation of a statute involving an “informational”
   consumer-related injury, that a plaintiff cannot “allege a bare procedural violation, divorced from
   any concrete harm, and satisfy the injury-in-fact requirement of Article III.” Spokeo, 136 S. Ct. at
   1549 (quoting Summers, 555 U.S. at 496)). The argument also fails to recognize the materially
   different language of Sections 2605 and 2607.
            The Court is aware of the Eleventh Circuit’s recent decision in Church v. Accretive Health,
   Inc., No. 15-15708, 2016 U.S. App. LEXIS 12414 (11th Cir. July 6, 2016), in which the Eleventh
   Circuit concluded that a plaintiff had standing to assert claims under the Fair Debt Collection
   Practices Act (“FDCPA”) simply by alleging that she had not received all information to which
   she was entitled under the statute, even in the absence of any allegations of “tangible economic or
   physical harm.” Id. at *10–11. The Eleventh Circuit reasoned that “the Supreme Court has made
   clear [that] an injury need not be tangible to be concrete,” and that the injury of not receiving a
   disclosure to which someone is entitled was “one that Congress has elevated to the status of a
   legally cognizable injury through the FDCPA.” Id. at 11 & n.2 (holding that this was not a
   “procedural violation,” but the violation of a “substantive right to receive certain disclosures”).
   The Court is not bound by this decision, and respectfully disagrees with it, based on this Court’s
   conclusion that the cases cited in Spokeo as examples of intangible harm sufficient to confer
   standing, i.e., Akins and Public Citizen, involved interests of much greater and broader significance
   to the public than those at issue in Church and, more relevantly, under Section 2605 of RESPA.
   In short, the Court rejects the view that Spokeo established the proposition that every statutory
   violation of an “informational” right “automatically” gives rise to standing. See Spokeo, 136 S.
   Ct. at 1549 (holding that plaintiff alleging FCRA violation “could not . . . allege a bare procedural
   violation, divorced from any concrete harm, and satisfy the injury-in-fact requirement of Article
   III”).
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           First, the allegations that SPS failed to provide Plaintiff information about his account or

   the fees that he was being charged have nothing to do with the required disclosures in the Hello

   and Goodbye Letters or SPS’s alleged failure to provide those letters. See Lujan, 504 U.S. at 560–

   61 (standing requires a “causal connection” between the alleged injury and the defendant’s

   conduct). Rather, those allegations speak to an injury, if at all, from the failure to provide

   information under Section 2605(e), in response to Plaintiff’s QWRs—meaning in response to

   specific questions from Plaintiff regarding his account—rather than the largely procedural

   information required by Section 2605(b) and (c). (See, e.g., 6/27/16 Oral Argument Tr. at 59:21–

   60:1 (“[W]hen you switch servicers as [Dolan] did then, [Dolan] was looking to get what the loan

   was from SPS,” “was looking to get accurate information,” i.e., “[w]hat [his] payments were being

   applied to[,] the amount of money[,] and so on”).)

           Second, as previously discussed, the Court reads Spokeo as affirming the principle that a

   claim of a bare procedural statutory violation will be insufficient to confer standing, except in

   situations where Congress clearly intended to create a right to bring suit regardless of the existence

   or non-existence of actual harm, such as the Supreme Court found with respect to the statutes at

   issue in Public Citizen and Akins. While the Court finds that Congress intended to create such a

   right in Section 2607, it concludes that Congress did not in Section 2605. Plaintiff, therefore, lacks

   standing for his Section 2605(b) and (c) claims relating to SPS’s alleged failure to provide him

   with RESPA-compliant Hello and Goodbye Letters. Accordingly, the Court grants Defendant’s

   motion and dismisses Plaintiff’s claims under Section 2605(b) and (c) of RESPA for lack of

   standing. 8



           8
            SPS has also moved for summary judgment with respect to Plaintiff’s negligence claim,
   since that claim “rise[s] and fall[s]” with Plaintiff’s RESPA claims. (See Dkt. 423 at 1 & n.2.)
   These claims do, indeed, rise and fall together. (See Dkt. 355 at 38–39 (denying summary
                                                    14
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   V.     Defendant’s Supplemental Argument Regarding Plaintiff’s Force-Placed Insurance Theory

          The Court denies Defendant’s Hail Mary supplemental motion for summary judgment on

   the basis of Spokeo as to Plaintiff’s force-placed insurance theory of breach of fiduciary duty. (See

   Dkt. 432.) On June 22, 2016, the Court denied Defendant’s summary judgment motion as to that

   claim. (Dkt. 430.) In a transparent attempt to circumvent that decision, Defendant now seeks to

   “supplement its motion to include Plaintiff’s new [force-placed insurance] claim” in light of

   Spokeo, arguing that “[t]o the extent the [force-placed] insurance premium was allegedly

   ‘excessive,’ any arrearage resulting from corporate advances was wiped out when Plaintiff

   prevailed in the state court action,” and thus Plaintiff lacks standing to bring this claim. (Dkt. 432

   (emphasis added).) This is nothing more than a rehashing of the same argument that Defendant

   previously made and the Court previously rejected. Furthermore, this argument has nothing to do

   with standing principles implicated by or clarified in Spokeo; indeed, there is no federal statute

   that Plaintiff alleges was violated so as to give rise to his State law breach of fiduciary duty claim,

   the claim under which Plaintiff has articulated his force-placed insurance theory.             Rather,

   Defendant’s supplemental motion is merely an attempt to disguise what is essentially a motion to

   reconsider the Court’s previous summary judgment order, which the Court rejects. 9




   judgment as to Plaintiff’s negligence claim because “genuine issues of material fact exist as to
   whether [SPS] breached the duties it owed to plaintiff under Section 2605 of RESPA”); see also
   12/1/15 Pre-Trial Conference Tr. at 48:9–15 (RESPA and negligence claims “rise and fall
   together,” meaning “[a] violation of RESPA would prove negligence”).) However, because
   Plaintiff’s RESPA claim under Section 2605(e) survives this summary judgment motion, the Court
   denies SPS’s motion for summary judgment as to Plaintiff’s negligence claim.
          9
             The same is true for any attempt on Defendant’s part to also now move for summary
   judgment on Plaintiff’s breach of contract action on the basis of Spokeo. (See Dkt. 432 (arguing
   that “same analysis” that was applied to Plaintiff’s force-placed insurance theory “holds true for
   Plaintiff’s breach of contract cause of action”).) This motion is a wholly inappropriate attempt to
   relitigate Judge Hurley’s earlier summary judgment opinion. (See Dkt. 355 at 36–37.) To the
                                                     15
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                                            CONCLUSION

          For the reasons stated above, Defendant’s motion for summary judgment is GRANTED

   IN PART and DENIED IN PART. Defendant’s motion is GRANTED as to Plaintiff’s claims

   under Section 2605(b) and (c) of RESPA; Plaintiff shall be precluded from pursuing those claims

   at trial. However, Defendant’s motion is DENIED, yet again, as to Plaintiff’s force-placed

   insurance theory of breach of fiduciary duty.




                                                        SO ORDERED.


                                                        /s/ Pamela K. Chen
                                                        Pamela K. Chen
                                                        United States District Judge
   Dated: August 2, 2016
          Brooklyn, New York




   extent Defendant has moved for summary judgment on Plaintiff’s breach of contract claim, that
   motion is likewise denied.
                                                   16
